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 1                               IN THE UNITED STATES DISTRICT COURT

 2                                 FOR THE DISTRICT OF NEW MEXICO

 3

 4       UNITED STATES OF AMERICA,

 5                 Plaintiff,

 6                 VS.                               CR. NO. 14-3609 JB

 7       BENTLEY STREETT,

 8                 Defendant.

 9

10
              Transcript of Status Conference proceedings
11       before The Honorable James O. Browning,
         United States District Judge, Albuquerque, Bernalillo
12       County, New Mexico, commencing on March 26, 2021.

13
         For the Government:                Ms. Sarah Mease (Via Zoom)
14
         For the Defendant:                 Mr. Paul Linnenburger (Via Zoom)
15

16

17

18

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 1                               THE COURT:   All right.    Good afternoon

 2       everyone.                I appreciate everybody making themselves

 3       available to me this afternoon.

 4                               The Court will call United States of

 5       America versus Bentley A. Streett, Criminal Matter

 6       No. 14-CR-3609 JB.

 7                               If counsel will enter their appearances for

 8       the Government.

 9                               MS. MEASE:   Good afternoon, Your Honor.

10       Sarah Mease for the United States.

11                               THE COURT:   Ms. Mease, good afternoon to

12       you.

13                               And for the defendant.

14                               MR. LINNENBURGER:     Good afternoon, Your

15       Honor.           Paul Linnenburger on behalf of Mr. Streett,

16       who is present and participating via video from the

17       institution where he is in custody.

18                               THE COURT:   All right.    Mr. Linnenburger,

19       good afternoon to you.                   Mr. Streett, good afternoon

20       to you.            Can you hear me, Mr. Streett?

21                               THE DEFENDANT:     Yes, sir.

22                               THE COURT:   All right.    Well, we were

23       supposed to have a sentencing today.                   I thought all

24 l     my work was done for it, but I guess we're going in a

25       different direction now.                   And so y'all requested a

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 1       status conference -- or I guess you did, Mr.

 2       Linnenburger.                So if you want to address the Court,

 3       you may do so.

 4                               MR. LINNENBURGER:   Thank, Your Honor.      Your

 5       Honor, I think as the Court is aware that there is a

 6       pending motion to withdraw the plea.                  I anticipate

 7       the likelihood of a second motion to withdraw the

 8       plea based on a different argument in a different

 9       section of the rule to be filed within the next week.

10       And so I asked for a status conference because I

11       wanted to -- I was hoping to discuss with the Court

12       scheduling.                And I know that as to the first motion

13       to withdraw that the Government made, believes that

14       they may need testimony --

15                               THE COURT:   Hold on, hold on.

16                               MR. LINNENBURGER:   -- may need evidence.         I

17       anticipate --

18                               THE COURT:   Hey, hold on.   Let me get my

19       calendar up here if we're going to discuss that.

20       Hold on.                I left it in my chambers.

21                               All right.   Go ahead, Mr. Linnenburger.

22                               MR. LINNENBURGER:   I anticipate as to the

23       second motion to withdraw -- and I have had basic

24 l     conversations with the Government as to what the

25       general grounds of that would be -- I anticipate that

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 1       they will seek to put on evidence as to that second

 2       motion.            And I apologize on the timing, Your Honor.

 3       After taking -- getting appointed to this case, as

 4       quickly as I could, I got through the 5000-some pages

 5       of discovery.                As well as the Court knows there have

 6       been multiple prior counsels.                So it took some time

 7       to gather up materials from prior counsel and to get

 8       through those as well to make sure that I had fully

 9       examined these issues relating to a possible

10       withdrawal of the plea.

11                               And so for that reason, Your Honor, I --

12       you know, I would anticipate that by late April or

13       mid April, briefing will be completed as to both

14       motions.                And if the Court wishes to hear evidence as

15       to the first motion, I imagine it will be a

16       significant overlap as to the evidence that would be

17       presented towards each.                The first, Your Honor,

18       addresses arguments under Rule 11(b)(3).                The second

19       would be what I would call a more traditional motion

20       to withdraw the plea.

21                               And so with that, Your Honor, I had just

22       hoped for an opportunity to get with the Court, and

23       to make sure that we can have these issues addressed

24 l     prior to preparations for sentencing.                I understand

25       that previously there had been, at least through the

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 1       informal objections process, issues with the PSR had

 2       been raised with Probation.                 And in an effort to

 3       preserve some resources, I have not yet delved into

 4       fully -- although I have in my review, and I

 5       anticipate there would be some significant objections

 6       related to the PSR -- but I did not want to expend

 7       those resources, if ultimately that would be

 8       unnecessary due to a granting of a motion to withdraw

 9       the plea, Your Honor.

10                               THE COURT:   Well, I'm not asking you to

11       argue the motion, but what is -- a three-sentence

12       paragraph -- the basis for him wanting to withdraw in

13       the first motion?

14                               MR. LINNENBURGER:   Your Honor, in the first

15       motion, boiled down to its essence, we have argued

16       that there is a lack of factual basis as to one of

17       the counts that was included in the plea, under Rule

18       11(b)(3), and I that that provides a fair and just

19       reason for withdrawal.

20                               And the second, as I said, will be a more

21       traditional analysis of the Tenth Circuit factors

22       related to Rule 11(d).

23                               THE COURT:   Early in my career I would

24 l     always grant motions to withdraw, and it was just --

25       it was just a train wreck.                  I just saw train wreck

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 1       after train wreck, with men spending the rest of

 2       their lives in prison because they decided to

 3       withdraw from plea agreements and go to trial, and

 4       then literally get life sentences after that.

 5                               I guess I just -- you know, I haven't

 6       studied everything in preparation for a sentencing

 7       because we keep getting close, but never get there.

 8       But I just have a real foreboding of Mr. Streett

 9       wanting to get out of the plea agreement.                 Because my

10       experience has taught me that it's usually -- I'm

11       just watching a train wreck occur.                 I'm sure you've

12       talked to him.                You're an experienced counsel.

13       You've probably seen the same thing.                 It's just

14       usually pretty ugly when we try to go to trial on

15       something like this, and people walk away from a plea

16       agreement.

17                               MR. LINNENBURGER:   Your Honor, not to get

18       into -- without getting into any privileged

19       conversations, I can represent to the Court that I

20       have had numerous discussions with Mr. Streett as to

21       the potential ramifications of seeking to withdraw

22       the plea, and if it ultimately got there, the

23       potential ramifications of a successful withdrawal of

24 l     the plea.

25                               THE COURT:   Mr. Streett had concerns before

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 1       he pled guilty about the factual basis of one or more

 2       of the counts, because he wrote me letters telling me

 3       that Mr. Lopez yelled at him and they had

 4       disagreements about the factual basis.                 So it's a

 5       little hard to say that that issue did not exist

 6       before Mr. Streett went into -- I believe in front of

 7       a magistrate judge -- and went ahead and decided to

 8       plead to the factual basis of those.                 And like I

 9       said, I have not studied the plea agreement, but I

10       will bet that, even though -- if he were successful

11       in withdrawing his plea or plea agreement that those

12       representations that he made to the magistrate judge

13       could be used against him at the trial.                 I have seen

14       that.         And that's what makes withdrawing from a plea

15       so ugly in this district.

16                               MR. LINNENBURGER:   Your Honor, and I --

17       again, without -- avoiding getting into any

18       privileged matters, either communications between

19       myself and Mr. Streett, or work product issues -- is

20       that part of the reason that it has taken some time

21       in the filing of these motions was, I have been

22       working through my duties as -- of candor to the

23       Court -- and to ensure that the arguments that were

24 l     presented that I was comfortable that they were

25       viable, Your Honor.

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 1                               THE COURT:   All right.   Thank you, Mr.

 2       Linnenburger.

 3                               Ms. Mease, your thoughts on any issues

 4       here?         And then maybe I can work with y'all to get a

 5       date set before we leave here today to have a hearing

 6       on these two motions if there are going to be two.

 7       Ms. Mease?

 8                               MS. MEASE:   Thank you, Your Honor.    In the

 9       Government's response to the first motion to

10       withdraw, I filed a lengthy response, and obviously

11       we're not arguing that now and I'm not going to get

12       into the weeds on that, but I did suggest that an

13       evidentiary hearing was not necessary.

14                               Without seeing Mr. Linnenburger's new

15       motion, second motion, I can't really take a position

16       on whether I would need to put on evidence.                   So I'm a

17       little hesitant to commit to a date here, because I

18       would need to confer with Mr. Lopez, because he would

19       likely be the party that I would put on to testify

20       regarding, you know, plea negotiations and the

21       discussions he had with Mr. Streett leading into the

22       plea.

23                               So perhaps if the Court could give us a

24 l     couple date options, we could get that reserved for

25       at least argument, and I could have Mr. Lopez try to

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 1       keep that open in the event I do need to call him as

 2       a witness.

 3                               The other thing I'll mention to the Court

 4       is Mr. Lopez and I, after the plea, we had some

 5       discussions that I think may be beneficial here.                    We

 6       were considering proposing for the Court some type of

 7       sentencing scheduling order.                And I think that may be

 8       helpful here.                I know in some ways that's putting the

 9       cart before the horse, when we haven't had a ruling

10       on the motion to withdraw.                But it may be beneficial

11       to at least lay out a timeline for a hearing, at

12       least from the parties on legal arguments on the

13       motion to withdraw, with the possibility that there

14       could be evidence there, depending on what's included

15       in Mr. Linnenburger's second motion, a deadline for

16       formal objections to the PSR, and a deadline for a

17       sentencing memoranda, and then the sentencing

18       hearing.

19                               This case, as the Court knows, has just

20       been pending for such a long time, I would really

21       like to keep things moving.                And I think the best way

22       to do that is just to lay out some firm deadlines

23       that the parties can work toward, with the

24 l     understanding that, if for some reason the Court were

25       to grant the motion to withdraw -- which I so far

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 1       have seen nothing that would warrant that -- that we

 2       would need to revisit the scheduling order.                  But I

 3       think we need to just keep moving forward as best we

 4       can here.

 5                               THE COURT:   All right.   Well, let's circle

 6       back to some of those issues in a moment, Ms. Mease.

 7                               Mr. Linnenburger, when do you think these

 8       two motions -- assuming there will be motions -- the

 9       second motion -- when do you think they will be fully

10       briefed and ready to go?

11                               MR. LINNENBURGER:    Your Honor, I don't

12       believe -- assuming a normal briefing schedule for a

13       response, and obviously if Ms. Mease requires

14       additional time, I would be more than willing to

15       agree to that, but I suspect that she would not --

16       she may not.                But I would think that by the end of

17       April it is likely that full briefing would be

18       accomplished.                I think that following the response I

19       could get a reply in relatively short order, and that

20       we'd be prepared for a hearing on these, essentially,

21       anytime in May the Court may have available, Your

22       Honor.

23                               THE COURT:   Okay.   Let me ask Ms. Rotonda

24 l     to look at the calendar for the first week of May and

25       see what we have.

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 1                               Do you have an estimate as to how long you

 2       think the hearing would last for these two motions,

 3       Mr. Linnenburger?

 4                               MR. LINNENBURGER:     Your Honor, my best

 5       estimate at this time would be that it would be best

 6       to set aside half a day.                   I can represent to the

 7       Court that I am almost certain that the Government

 8       will seek to put on evidence.                   And so -- and I

 9       anticipate that it would be prior counsel.                     And so I

10       would think half a day would be safe, Your Honor.

11                               THE COURT:    All right.   Does that estimate

12       sound about right to you, Ms. Mease?

13                               MS. MEASE:    Your Honor, I think so.     I know

14       the Court recalls there were two attorneys

15       representing Mr. Streett ahead of the plea, Mr. Lopez

16       and Mr. Zimmerman.                   If Mr. Linnenburger is confident

17       that I will need to put on witnesses, there is a

18       chance I may put on two.                   I don't know if Mr. Streett

19       intends to testify.                  If Mr. Linnenburger is prepared

20       to speak to that now, that would help.                   But

21       otherwise, I would almost suggest setting aside a

22       day, just to account for extra testimony, if it's

23       needed.

24 l                             THE COURT:    Okay.   So what do we have that

25       week of the 3rd through the 7th?

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 1                               (A discussion was held off the record.)

 2                               THE COURT:    All right.   Let me give you

 3       some options, and maybe this fits in to somebody's

 4       suggestion -- it might have been Ms. Mease's -- that

 5       I give you some backups.                   I want to leave here with

 6       something set, but you can also call back and talk to

 7       Ms. Rotonda if something else works out.

 8                               The first -- on the 3rd, 4th, and 5th of

 9       May, I'm in a bench trial in a case that the parties,

10       after they got my ruling on some legal issues, have

11       decided to -- instead of having a jury trial, have a

12       bench trial.                So the 3rd, 4th, and 5th.     That's a

13       long ways off.                You know, it's a civil case.        Chances

14       are it will settle, but I just don't know.                      But I

15       could give you a backup there if you wanted it, and

16       then we could just see how it goes.                   The 6th and 7th,

17       I have Daubert hearings in that Padilla case.                      That's

18       the SNM case that is Phase 2.                   It's the one where

19       they're bringing some charges against people because

20       of one of the witnesses in the first round being

21       murdered up in Las Vegas.                   So those are set there.

22       Again, I don't know, there are a lot of moving parts

23       in that case, too.                   So I could give you backup on

24 l     those.           On the 11th and 12th; on the 11th I have a

25       two-motion hearing in a civil case.                   It's an

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 1       automobile accident case; just don't know how long

 2       that will take and what -- I haven't looked at the

 3       motions.

 4                               On the 12th, I have one of these releases

 5       from prison, compassionate releases, for Tommy

 6       Rodella up in Las Vegas.                 He's about the last two

 7       years of his term.

 8                               The 13th, did you say it was free?      Oh, I

 9       have two pretrial conferences.                    So here's what I

10       could do:                I could give you backups on one or more of

11       those dates.                The 11th and 12th, I could just set you

12       sometime a little bit later; wouldn't give you a full

13       day, but would give you something.                    If it turned out

14       one of those went away, then we could bump you

15       forward and give you a full day.                    The 13th I've got

16       two pretrial conferences.                    Still a long ways out.

17       They may go away.                Even if they didn't go away, you

18       could come in and work around them during the day.

19       Any of those, one or more of those dates or options

20       appeal to you, Ms. Mease?

21                               MS. MEASE:   Looking at my calendar, I can

22       make any of those work, so I'll put those dates in an

23       email to Mr. Lopez and Mr. Zimmerman.

24 l                             THE COURT:   Okay.    All right.   What do they

25       look like -- what would be your preference, Mr.

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 1       Linnenburger?

 2                               MR. LINNENBURGER:     I'm completely -- at the

 3       moment I'm completely open on all of those days.                        I

 4       think it probably would make the most sense to go

 5       with some of the dates the second week.                    It sounds as

 6       those may be more likely.                    And obviously, I'll defer

 7       to the Court, but it sounds as though we may be more

 8       likely to be assured a time in those dates than we

 9       would for either the bench trial or the Daubert

10       hearing the week before.

11                               THE COURT:   Okay.    Why don't I do this:          I

12       don't think that compassionate release will take too

13       long.         I'll have read everything.             Does that start at

14       8:30?

15                               THE CLERK:   Yes.

16                               THE COURT:   Why don't I put you on at 10:00

17       on the 12th, so we'll have something in place.                      Then

18       y'all just stay in touch with Ms. Rotonda.                    And Ms.

19       Mease, if you find out that Mr. Lopez, Mr. Zimmerman

20       aren't available, then you can work to get another

21       one.        I think it would be better if we got something

22       on the calendar so other things don't start filling

23       it up, if I get a break on a trial or a Daubert

24 l     hearing or something.                 Does that work for you, Ms.

25       Mease, if we do that, 10:00 on the 12th, right at the

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 1       moment?

 2                               MS. MEASE:   Yes.   I like that plan, Your

 3       Honor.

 4                               THE COURT:   Is that all right with you, Mr.

 5       Linnenburger?

 6                               MR. LINNENBURGER:   It is, Your Honor.

 7       Thank you.

 8                               THE COURT:   And we'll stay fluid.   If that

 9       doesn't work for Mr. Lopez or Mr. Zimmerman, call

10       Ms. Rotonda and we'll give you another -- it might be

11       a backup, but I still think it would be better if we

12       get something out there than not have something set,

13       even if we consciously know it's a backup.

14                               So what other dates would you like as far

15       as your sort of timetable to sentencing, assuming

16       that I don't grant the motions -- and I'll keep an

17       open mind, I'll read everything and be prepared, so

18       I'm not foreclosing it by just setting a timetable --

19       but what other dates would you like, Ms. Mease?

20                               MS. MEASE:   Your Honor, if I can ask how

21       long you would likely need following an evidentiary

22       hearing to push out an order, and then we could go

23       from there?

24 l                             THE COURT:   My guess would be that I

25       probably can rule orally, and then use the time

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 1       between that and the sentencing, if I deny the

 2       motions, to write the opinion.                    So I would imagine

 3       with a motion to withdraw it's either going to be

 4       something that I just feel like, Yeah, I need to

 5       grant it, or it's something I need to deny.                     So I

 6       don't think it will be something that probably I need

 7       to make a decision while I'm writing it.                    Does that

 8       make sense?

 9                               MS. MEASE:   Yes.   With the understanding

10       that I don't anticipate filing objections to the

11       PSR -- that's going to fall, I believe, mostly to Mr.

12       Linnenburger -- I would say maybe 30 days out from

13       our hearing on the motion to withdraw, we would aim

14       for an objection deadline, and then another 30 days

15       past that for sentencing memoranda.                    And then maybe

16       two weeks following the sentencing memoranda we could

17       aim for a sentencing date.                  That would put us

18       sentencing, if we get there, mid to late July, if I'm

19       estimating correctly.

20                               THE COURT:   All right.     Does that sound

21       about right to you, Mr. Linnenburger?

22                               MR. LINNENBURGER:    Yeah, that sounds fine,

23       Your Honor.                And if the Court or the Government

24 l     desires a shorter timeframe, I think the 30 days for

25       objections would be appropriate.                    I don't know if

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 1       thereafter we would require another month for

 2       sentencing memorandums.                 As the Court knows from my

 3       practice there tends to be some overlap.                  And when

 4       I'm looking at sentencing, I tend to be looking at

 5       the broader picture, as well as focusing it on

 6       specifics.

 7                               Having said that, Your Honor, if the

 8       Government wishes to have additional time -- I

 9       understand that this is a complicated sentencing in

10       terms of the statutory sentencing factors, and there

11       is a lot of moving parts -- and I would have no

12       objection to the timetable suggested by Ms. Mease.

13       Although, again, if we want to shorten that some, I

14       am fine with that as well.

15                               MS. MEASE:   Your Honor, the parties can

16       confer and put together a proposed scheduling order

17       for the Court.                That may be easier than trying to

18       hammer out dates now.

19                               THE COURT:   Okay.   Is that all right with

20       you, Mr. Linnenburger?

21                               MR. LINNENBURGER:    That's fine, Your Honor.

22                               THE COURT:   All right.   So I'll just look

23       forward to an order then from you.                  All right.    Can

24 l     you think of anything else we need to discuss while

25       we're together?                Anything else I can do for you

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 1       today, Ms. Mease?

 2                               MS. MEASE:   I don't believe so, Your Honor.

 3                               One thing I'll just flag is that all of the

 4       victims in this case reside out of state; some out of

 5       country, and -- or one, I should say, out of country.

 6       I do know that at least two wish to speak at

 7       sentencing, if we get to a sentencing hearing.                    And

 8       so I will be moving to have those statements provided

 9       remotely, which -- in basically the same format we're

10       having this hearing.                 So I just wanted to flag that

11       for the Court and Mr. Linnenburger.                 And I don't

12       anticipate that would be an issue, but if it is --

13       because I wasn't going to try to have folks flying in

14       from all over to make a victim impact statement.                     But

15       if that does become an issue or that's going to raise

16       an objection on Mr. Streett's part, I would like to

17       know sooner rather than later.

18                               THE COURT:   Do you anticipate any objection

19       on that, Mr. Linnenburger?

20                               MR. LINNENBURGER:   I would have to confer

21       with my client on that, Your Honor.                 But I can get

22       with Ms. Mease as soon as possible if there is going

23       to be an issue with that.

24 l                             THE COURT:   Does that work for you, Ms.

25       Mease?

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 1                               MS. MEASE:   Yes.

 2                               THE COURT:   All right.     Anything else we

 3       need to discuss while we're together?                    Anything else

 4       I can do for you, Ms. Mease?

 5                               MS. MEASE:   Not from the Government, Your

 6       Honor.           Thank you.

 7                               THE COURT:   How about you, Mr.

 8       Linnenburger?

 9                               MR. LINNENBURGER:      Not from me, Your Honor.

10                               THE DEFENDANT:      Your Honor, am I allowed to

11       say something?

12                               THE COURT:   Let me finish the hearing,

13       Mr. Streett.                I'll ask Mr. Linnenburger this

14       question:                I did read some of the correspondence that

15       Mr. Streett has sent to me about a gun.                       And did that

16       get resolved, Mr. Linnenburger, as to Mr. Streett's

17       satisfaction?

18                               THE DEFENDANT:      No, Your Honor.

19                               MR. LINNENBURGER:      I don't believe it has,

20       Your Honor.                But I have not had specific conversation

21       with him about that, Your Honor.

22                               THE COURT:   Well, you might pass on to him

23       that, you know, just because I have jurisdiction over

24 l     Mr. Streett, and just because I have jurisdiction

25       over the FBI, doesn't mean I have jurisdiction over

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 1       things like City of Albuquerque and his mother and

 2       his ex-girlfriend, and those things.                   That's largely

 3       probably a civil lawsuit, and it probably is not

 4       going to have any federal nexus.                   So just because he

 5       can't have a gun, doesn't mean I can resolve disputes

 6       between third parties out there about a gun.                   He

 7       can't have a gun.                But that doesn't mean I have

 8       authority under the Constitution or over the power

 9       that Congress has given us to -- for me to decide

10       those things.                So he can write me letters about it,

11       and go into great detail about who has got what gun

12       out there and stuff.                But those are -- those involve

13       parties that aren't before the Court.                   And I would be

14       abusing my powers as a judge to start ordering the

15       FBI to go do things that -- telling the executive

16       branch what to do about a gun that doesn't really

17       come before the Court.                   So I don't think there is

18       anything I can do about that gun.                   And so it probably

19       is not a good use of his time to write me letters

20       about it.                And it's not a good use of my time to be

21       reading about things that I don't have the ability to

22       do anything about, and will not do anything about.

23       Because I don't think it would be proper for me to

24 l     get involved in that.

25                               THE DEFENDANT:     Well, Your Honor, the main

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 1       issue I had with it, law enforcement agencies report

 2       that the gun had been stolen.                  It was thought to be

 3       with my ex-girlfriend, and she was supposed to turn

 4       them over to my family.                  And my mom tried to contact

 5       every possible law enforcement that had jurisdiction,

 6       state police, local sheriffs, and APD, and none of

 7       them would even entertain a report as to what had

 8       been stolen.                And that was the issue.       She complained

 9       that she could prove ownership, but no one would take

10       a report because it was stolen.

11                               THE COURT:   Yeah.   Well --

12                               MR. LINNENBURGER:    Your Honor, if it

13       remains an issue, I will discuss that with him.                        And

14       I appreciate the Court's guidance on that.                     I will

15       have those discussions with Mr. Streett.

16                               THE COURT:   Yeah.   I mean, I read all that,

17       Mr. Streett, but that's just not part of this case.

18       And I just can't start sweeping in everything that

19       involves Bentley Streett into my case.

20                               THE DEFENDANT:    I understand.

21                               THE COURT:   So you can write me those

22       letters, and I'll try to read them, but -- to be

23       informed about you as we try to bring this case to a

24 l     conclusion -- but again, I know you've heard me say

25       this many times, but, you know, you've got some

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 1       issues that you can take to the Tenth Circuit.                        And

 2       as long as we keep doing motions to withdraw and

 3       things like that, you're never going to get to the

 4       Tenth Circuit with those issues.                   I've worked hard on

 5       them.         I know you disagree with them, and that's

 6       fine.         People disagree with me all the time.              And the

 7       that's the way our system works.                   But as long as we

 8       keep working with these motions to withdraw and

 9       things like that and get sidetracked about guns and

10       stuff like that, we're never going to keep our eye on

11       the fact that I need to sentence you so that you can

12       get to the Tenth Circuit.                   That's the thing that I

13       think you ultimately want.                   And the sooner we get to

14       that point, I think it's better for you and all of us

15       to bring it to a conclusion here.                   Because I've done

16       just about the best I can.                   And I need to get you up

17       to the Tenth Circuit so you can make arguments about

18       your two big motions that you have in the conditional

19       appeal up there.                But you'll have to make a decision.

20       I mean, I know it's not my decision to make.                     It's

21       your decision to make.                   But I do sort of remind you

22       that we're continuing to delay getting you an

23       ultimate resolution of those two things that have

24 l     been important to you to be a conditional appeal.

25                               THE DEFENDANT:     Thanks, Your Honor.

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 1       Getting anything overturned in the Tenth Circuit for

 2       that matter I'm not putting much stock in that.

 3                               THE COURT:   Well, if you read the paper

 4       this morning, they got reversed by the Supreme Court

 5       this morning.                So it happens.

 6                               THE DEFENDANT:   Yes, I did read that.

 7                               THE COURT:   Did you have anything else, Mr.

 8       Streett?

 9                               THE DEFENDANT:   I did, as far as I wanted

10       to make sure that any hearings or anything we have

11       were in person.                I was not aware of this conference

12       until minutes before I was brought in here.                  But

13       otherwise, I do not consent to having any kind of

14       remote hearings, anything especially that involves

15       witnesses or evidence or anything like that.                  So I

16       don't think counsel and I have gotten that far and

17       discussed that.                But since the Government raised it,

18       I do not consent to any kind of remote hearings.

19                               THE COURT:   Okay.    Now, sort of

20       unscrambling that for a minute, you don't have to

21       consent to a video sentencing or things like that.

22       So I understand that.                 But do you have any problem

23       with, if we get to a sentencing, with these two

24 l     victims testifying or speaking to the Court by video?

25                               THE DEFENDANT:   Yes, Your Honor, I do.

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 1                               THE COURT:   Okay.    And what's the basis of

 2       your objection, Mr. Streett?

 3                               THE DEFENDANT:   Okay.     Without getting too

 4       much information, I have not discussed with counsel.

 5       I did read the Government's, at some point in

 6       reference to one of the victims.                    And much of that

 7       information was incorrect and untruthful.                    And so I

 8       have not a chance to discuss with counsel if he needs

 9       to allow to cross-examine this witness, or him raise

10       any of those inconsistencies with what they stated.

11       And I just don't want those untruthful statements to

12       be considered truth in fact, when in fact they're not

13       without anyone challenging it.

14                               THE COURT:   Well, I do encourage you to

15       talk to Mr. Linnenburger.                    But at a sentencing it's

16       typically not the case that you're entitled to

17       cross-examine.                Nobody is going to cross-examine you,

18       and you get to speak in court.                    And nobody typically

19       gets to cross-examine the victims.                    So it's one of

20       those things where we just come and everybody just

21       gives their information to the Court, and the Court

22       does the best it can to come up with a sentence that

23       reflects the factors in 18 USC Section 3553(a).                       So

24 l     it's adversarial in that it's you against the United

25       States.            But it's not typically adversarial as to the

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 1       victims.                They just come and speak.   So oftentimes I

 2       get by letters -- I don't usually have people

 3       objecting to people calling in, listening, and things

 4       like that.                So it's a little bit different hearing

 5       than, you know, hearings like suppression hearings

 6       and things like that, where -- or trials -- where

 7       people do get a right to cross-examine.                 So think

 8       about it.                Mr. Linnenburger can look at the issue,

 9       and then if there is not an agreement, then I guess I

10       can look further at the issue.                 But I have not had a

11       defendant object before so it's not something I have

12       bottomed out on before in my life.

13                               THE DEFENDANT:   Your Honor, some of that

14       information has already been provided, and I've

15       already been able to review, and it's contradictory

16       with the evidence in discovery.                 It's a little harder

17       for someone to sit in a courtroom and look you in the

18       face and lie about it than they are in a room 1,000

19       miles away.

20                               MR. LINNENBURGER:   Your Honor, to the

21       extent any such objection from Mr. Streett relies on

22       any -- or is tied up the objections to the

23       presentence report, we will obviously address them

24 l     through that channel.

25                               At the same time, Your Honor, I intend to

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 1       have discussions with Mr. Streett as to what the

 2       sentencing process entails, what a sentencing hearing

 3       details.                And in that conversation, I would discuss

 4       with him the Government's request.                 And if there are

 5       objections remaining at that time, I will notify Ms.

 6       Mease, and let the Government know the basis of any

 7       objections, so that, if need be, we can get the issue

 8       before the Court in advance of sentencing, Your

 9       Honor.

10                               THE COURT:   And, you know, I'm not imposing

11       this, but there might be a compromise that could be

12       worked.            Maybe the victims could write out their

13       statement.                This often happens that victims read me

14       something here in the courtroom, and they read a

15       statement, and they agree that everything they're

16       going to say is in the statement, and they'll just

17       read that statement to me in open court.                 But they've

18       got to send it to you X number of days before the

19       hearing so that Mr. Streett can look at it and be

20       prepared to respond to it.                 Something like that is a

21       possibility.                I'm not saying that's the only

22       solution, but it's something y'all might give some

23       thought to.                And that way it addresses Mr. Streett's

24 l     concerns and it also addresses the distance concerns

25       for the victims.

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 1                               All right.    Anything else, Mr. Streett?

 2                               THE DEFENDANT:     Yes, Your Honor.   I've been

 3       trying to get filings from counsel.                    I have not

 4       received anything after document 230.                    And I have not

 5       had notice communication to counsel to get those, nor

 6       have I seen those.                   I still haven't received anything

 7       filed from 231 on.

 8                               THE COURT:    Okay.   Mr. Linnenburger?

 9                               MR. LINNENBURGER:     Your Honor, without

10       getting into any conversations between Mr. Streett

11       and my office, I will say that documents that are

12       appropriate for Mr. Streett to have have been sent to

13       him.        He may not have received them as of yet, but

14       they have been sent to him.

15                               As this Court knows, there is a protective

16       order in place.                And so there are certain documents

17       that I don't believe it's anything on the record or

18       that has been filed in the last few days or weeks.

19       But there are certain things that I am not permitted

20       to provide to Mr. Streett.                    And I just want the Court

21       to know that I'm aware of that, and that we have made

22       sure that we have not provided any of the materials

23       that are subject to the protective order.

24 l                             THE COURT:    All right.    Anything else, Mr.

25       Streett?

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 1                               THE DEFENDANT:   Yes, sir, Your Honor.      I'm

 2       aware of what counsel just said.                  And I'm not asking

 3       for anything that falls under the protective order.

 4       I'm just asking for anything that's been filed so I

 5       can review it.

 6                               THE COURT:   All right.   Anything else, Mr.

 7       Streett?

 8                               THE DEFENDANT:   I don't believe so, Your

 9       Honor.

10                               THE COURT:   All right.

11                               THE DEFENDANT:   I do want a transcript of

12       this hearing.                I don't know what I have to do to

13       request it or be able to get a transcript of it.

14                               THE COURT:   All right.   I'm sure Mr.

15       Linnenburger, if y'all decide you want a transcript,

16       can make arrangements for that.

17                               All right.   If there is nothing else,

18       y'all -- I appreciate your presentations.                  We've got

19       some dates set.                And we'll try to work with each

20       other to make them work for everybody involved.

21                               Y'all have a good afternoon, good weekend.

22       Be safe out there, okay?

23                               THE DEFENDANT:   One other thing, part of

24 l     the reason for not wanting to have the remote

25       hearings is I can't confer with counsel on

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 1       anything -- you're asking me questions -- because

 2       it's open, and especially anything that has any

 3       significance.                Beyond this type of hearing, I'd like

 4       to have counsel present so I can ask him when I have

 5       questions or issues with anything.                    And that's part

 6       of the concern about not being remote.

 7                               THE COURT:    Well, that's fine.    It's your

 8       choice at sentencing whether you want to be here or

 9       not.        But there is a function that we use all the

10       time, that we can give you -- just you and Mr.

11       Linnenburger talk to each other with these government

12       Zooms that we use.                   So counsel and defendants talk

13       all the time privately, in privileged ways.                    So it

14       can be done, and it is done fairly frequently.                      But

15       that's something for you to think about down the road

16       if we get to the point of sentencing.

17                               THE DEFENDANT:     Okay.   I'm just not aware.

18       I've never done any of this before, so I'm not sure

19       how that works.

20                               THE COURT:    You just ask for it and we put

21       you and Mr. Linnenburger in a chat room, and y'all

22       talk, and we can't hear you.

23                               THE DEFENDANT:     Okay.

24 l                             THE COURT:    All right.    Y'all have a good

25       afternoon.                Be safe out there.

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 1                               (The Court was adjourned.)

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